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                                                              U.S. DEPARTMENT OF JUSTICE

                                                                                Matthew T. Kirsch
                                                                       Acting United States Attorney
                                                                               District of Colorado


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 July 29, 2021

 Via electronic mail

 Tor Ekeland, Esq.
 Michael Hassard, Esq.
 Counsel for Michael Tew and Kimberley Tew
 30 Wall Street
 8th Floor
 New York, New York 10005
 tor@torekeland.com
 michael@torekeland.com

 Re:    United States v. Michael Aaron Tew, et al., Case No 20cr305-DDD
        Second Letter Regarding Further Filtering of iCloud Search Warrant Return for
        kley@me.com

 Dear Mr. Ekeland,

 We are responding to your letter dated July 23, 2021 (the “July 23 Letter”) which responded to our
 letter dated July 7, 2021 (the “July 7 Letter”). The July 7 Letter, the July 23 Letter, and this letter
 all concern the search warrant return for Kimberley Tew’s iCloud account associated with
 kley@me.com.

 The July 23 Letter begins with the statement, “As you are aware, the unencrypted iCloud search
 warrant return for your search warrant dated September 22, 2020 (Bates No. 00000087, the "Search
 Warrant") in the above referenced matter contains privileged communications.” This appears to
 assume that the filtered, unencrypted 1 return that the prosecution team had access to 2 contains
 privileged communications.

 As we noted both during our March 29, 2021 teleconference (the “March 29 Teleconference”) and
 in our July 7 Letter, when we received the search warrant return in or around late December 2020,

 1
   As noted during our March 29, 2021 teleconference and in our July 7 Letter, there are two
 components to the search warrant return at issue here: an encrypted portion and unencrypted
 portion. Date filtering, as described in the July 7 Letter and in this letter, was applied to both
 portions, but the prosecution team has not yet accessed the encrypted date-filtered search warrant
 return.
 2
   The prosecution team immediately ceased review of the date-filtered unencrypted search warrant
 return on July 5, 2021, and has not since accessed those materials. See July 7 Letter.
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 we did not have a basis to believe that there was a reasonable possibility that the materials in the
 iCloud search warrant return implicated an attorney-client privilege held by Mrs. Tew. We
 nevertheless asked that the search warrant return – both the encrypted and unencrypted portions –
 be filtered outside the prosecution team to exclude all materials that either had no date or were
 dated the date of Mr. Tew’s arrest, July 8, 2020, or later. As we also noted during the March 29
 Teleconference, we started an initial review of the unencrypted, filtered search warrant return in
 the few weeks before indictment, and we did not encounter materials that appeared to be attorney-
 client communications. On that teleconference, we described the date exclusion and specifically
 asked whether you were aware of any other attorney-client relationships for Mrs. Tew. We noted
 that we had not resumed review of the filtered search warrant return since the time of indictment
 and offered to continue to hold off on further review for two weeks to give you an opportunity to
 raise any privilege issues with us or with the Court. You did not provide any other attorney names
 on that call, or in the time after that call after your receipt of the unfiltered search warrant returns
 for both the encrypted and unencrypted portions of the return. More than three months after our
 March 29 Teleconference, our team resumed review. In that review, when a member of the
 prosecution team identified communications with persons that either were known to be or could
 be attorneys, review immediately ceased and we promptly notified you. See July 7 Letter.

 In our July 7 Letter, we specifically asked you to confirm whether Mrs. Tew had an attorney-client
 relationship with (1) Eric Creizman; (2) Lauren Tew; and (3) “Lawyer 3.” The fact that an
 individual communicates with a lawyer does not make any and all such communications subject
 to the attorney-client privilege. Indeed, while we have affirmatively offered to use search terms
 to exclude the prosecution team from access to communications with Mr. Creizman, Lauren Tew,
 and Lawyer 3, we are not obligated to categorically exclude all such communications from our
 review. 3 Instead, the government could opt to have these communications reviewed by a filter
 team and only exclude those communications that are, in fact, privileged.

 Your quotation of the language in our search warrant application, see July 23 Letter at 2, in fact,
 supports the government’s approach here. That language states:

                If the government identifies seized communications to/from an
                attorney, the investigative team will discontinue review until a
                filter team of one or more government attorneys and other
                government personnel, as needed, is established. The filter team
                will have no previous or future involvement in the investigation of
                this matter. The filter team will identify and segregate
                communications to/from attorneys, which may or may not be subject
                to attorney-client privilege. At no time will the filter team advise the
                investigative team of the substance of any of the communications
                to/from attorneys. The filter team then will provide all
                communications that do not involve an attorney to the investigative
                team, and the investigative team may resume its review. If the filter


 3
   As noted in the July 7 Letter, the government’s decision at this time to voluntarily exclude and
 not review communications between Mrs. Tew and Mr. Creizman, Lauren Tew, and “Lawyer 3”
 is made without waiver of its ability to argue that these materials are not, in fact, privileged.
                                                    2
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                team believes that any of the communications to/from attorneys are
                not actually privileged (e.g., the communication includes a third
                party), and if the investigation is not covert, the filter team will first
                seek to obtain agreement from the appropriate defense counsel
                before providing these attorney communications to the investigative
                team. If consulting with defense counsel is not possible or does not
                produce an agreement, the filter team will obtain a court order before
                providing these attorney communications to the investigative team.

 (emphasis added).

 Prior to July 5, 2021, the government had not identified seized communications to/from an
 attorney. Indeed, exactly as this language specifies, once we did identify such seized
 communications to/from an attorney, we discontinued review and notified you. See July 7 Letter.
 Because we have decided at this time not to seek to use communications between Mrs. Tew and
 Mr. Creitzman, Lauren Tew, and Lawyer 3, we opted for what we thought would be a more
 efficient filter process—to use search terms, created with input from you, to simply exclude those
 materials from our review—rather than have a separate filter agent and filter Assistant U.S.
 Attorney review those communications. In short, the process the government is proposing would
 likely over-exclude items from the prosecution team’s review (at least for now) by excluding all
 communications between Mrs. Tew and Mr. Creizman, Lauren Tew, and “Lawyer 3,” whether or
 not those communications are, in fact, privileged. The option to use a separate filter AUSA and
 filter agent remains available if there is any reason to think that the more efficient process of using
 search terms will not adequately protect any attorney-client privileges. If you have such a reason,
 we ask you to share it with us.

 We renew our request that you state whether Mrs. Tew had an attorney-client relationship with
 Mr. Creizman, Ms. Lauren Tew, and/or Lawyer 3. We also continue to ask for your input on our
 proposed search terms as outlined in the July 7 Letter. Similarly, as we asked during our March
 29 Teleconference, we continue to ask whether Mrs. Tew has attorney-client relationships with
 other lawyers so that we may take additional steps, as needed, to filter out privileged
 communications with those lawyers.

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 We are available for an additional teleconference early next week to discuss this issue. Should we
 not be able to reach agreement on a path forward by or before close of business on August 5, 2021,
 we think that Court intervention may be the next step.

        Thank you.

                                                     Best Regards,

                                                     MATTHEW T. KIRSCH
                                                     Acting United States Attorney
                                                     District of Colorado

                                                     s/ Hetal J. Doshi
                                                     Hetal J. Doshi
                                                     Assistant United States Attorney

                                                     s/ Andrea Surratt
                                                     Andrea Surratt
                                                     Assistant United States Attorney




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